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                           In the United States Bankruptcy Court

                                   For the District of UTAH

In Re:                                             Bankruptcy Case Number:
ARCHER, CORBIN W                                    23-25897
XXX-XX-5069                                        Chapter: 13
ARCHER, LISA A
XXX-XX-9812                                        OBJECTION TO CONFIRMATION OF
Debtor                                             CHAPTER 13 PLAN

COMES NOW, the Utah State Tax Commission and objects to confirmation of Debtor's
Chapter 13 plan pursuant to 11 U.S.C. Section 1324(a) and FRBP 3015. This objection
is made on the grounds that the plan does not comply with 11 U.S.C. Section 1325,
including 11 U.S.C. Section 1325(a)(9), as follows.

The Debtor(s) has/have failed to file the appropriate pre-petition tax returns with the
Utah State Tax Commission as required by 11 U.S.C. Section 1308 for the following
years: 2019, 2020, 2021, 2022 for both debtors

DATED this 17th day of January, 2024

/s/ Aaron Waite
Assistant Attorney General




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OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN                      Bankruptcy Case:   23-25897
